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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    ASHLAND DIVISION

MORRIS E. LEWIS                                        ::      Case No.
   plaintiff
                                                       ::      Judge 
          vs.
                                                       ::      Mag.
GE MONEY BANK
4246 South Riverboat Rd., Ste. 200                     ::
Salt Lake City, UT 84123
      defendant                                        ::

                                                       ::                               
 


     Complaint Seeking Statutory, Actual, Statutory & Punitive Damages
    Under the FCRA for Impermissible Access of Personal & Confidential
    Credit Information & Common Law  Invasion of Privacy; Attorney Fees
                            and Jury Demand

                                             

                                                          Claim One
                                            [FCRA Impermissible Access]
                                                         
                                                         Jurisdiction

             1. This Honorable Court has jurisdiction over this matter based upon
28 U.S.C. 1331, in that this dispute involves predominant issues of federal law. 
Defendant is liable unto Plaintiff pursuant to the provisions of the ʺFair Credit
Reporting Act,ʺ 15 U.S.C. 1681, et seq. [hereinafter the “Act].
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                                                              Parties

              2.  Plaintiff, Morris E. Lewis (hereinafter referred to as
 “Plaintiff”), is a natural person who resides in Greenup, Commonwealth of
Kentucky is a ʺconsumerʺ as defined by 15 U.S.C. § 1681a.(b) and © ) respectively.

             3. Made Defendant herein is GE Money Bank [hereinafter referred
to as “GEMB” or “Defendant”], appears to be a foreign corporation which, upon
information and belief, is either licensed and incorporated under the laws of
Connecticut or headquartered there and which primarily does business
throughout the State of Connecticut and elsewhere who, at all times relevant
hereto, acted either as a furnisher and/or user of credit information as it is
defined within the Act.


                                                           Allegations

             4.  Upon information and belief, Defendant has been afforded, under
contract, a direct access terminal whereby it may, for permissible and lawful
purposes, access consumer reports and/or consumer credit information through
Trans Union, LLC. and, perhaps others which are each credit reporting agencies
which store and maintain personal and confidential credit data concerning
Plaintiff and other consumers.

               5. In March, 2001 a credit account was created in the name of the
Plaintiff in favor of the Defendant which was opened at Lowe’s Retail Store and
listed as GEMB/Lowe’s [hereinafter the “account”].

             6. Plaintiff ultimately became delinquent on the account and
Defendant filed suit in the Greenup District Court, Greenup County, Ky and
obtained a judgment which was recorded in December, 2008.




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            7. Plaintiff extinguished the account by fully paying‐off that
judgment by formal written agreement making the final payment by personal
check on May 4, 2010 in the amount of $48 and presenting payment to the
lawfirm of Mapother & Mapother [hereinafter “Mapother.”].

            8. Mapother, on behalf of the Defendant, filed a notice of satisfaction
of judgment in the Greenup District Court on June 28, 2010 which indicated
payment in full of the account. 

              9. In spite of the extinguishment of the account in May, Defendant
accessed the personal and confidential credit information and/or consumer file of
the Plaintiff through Trans Union (a credit reporting agency) in September, 2010
and, perhaps later than that  [hereinafter the “access.”].

            10. Defendant accessed Plaintiff’s consumer credit information
and/or consumer file without the consent or knowledge of Plaintiff.

            11. Defendant accessed Plaintiff’s personal and confidential credit
information from and through Experian without a permissible purpose under the
law.

            12. Defendant both negligently and wilfully violated the Fair Credit
Reporting as provided and set forth in 15 U.S.C.§1681n. & 15 U.S,C. §1681o.




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                                                              Claim Two  
                                      [Common Law‐Invasion of Privacy or
                                                  The Right to Privacy]   
                               
                                                              Jurisdiction
  
                      13.  This claim is made pursuant to common law invasion of privacy.

                      14.  The jurisdiction of this Court is invoked pursuant to the
principles of pendent or ancillary jurisdiction as set forth in 28 U.S.C. §1367, in
that the claim herein arose out of the same basic facts, which gave rise to the
principal federal claim.

                                                                     Parties

                    15.  The parties are the same as in claim One.



                                                                 Allegations

              16. Plaintiff hereby incorporates each and every allegation of claim
one as if re‐written herein.

            17. Plaintiffs is the owner of a consumer file which contains personal
and confidential information about her financial accounts and records, the
manner in which these accounts are paid and other personal and confidential
information about her.




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             18. By necessity Plaintiff shares this information with Trans Union,
LLC. and other consumer reporting agencies which maintain these records on his
behalf to be disbursed to third parties only for the limited purposes expressed in
the law and/or with the expressed consent of the Plaintiff herself.

            19. The information contained in Plaintiff’s consumer file is without
any doubt considered private and confidential by any and all reasonable
standards known to society. 

            20. In September, 2010 the Defendant accessed and invaded the
personal and private property belonging to the Plaintiff having no right to do so.

             21. The action of Defendant was willful, wanton and reckless and in
total disregard for the personal and financial rights of the Plaintiff.

            22. As a direct and proximate result of Defendant’s conduct Plaintiff
was injured both emotionally and financially in an amount to be determined by a
jury.




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                                                             Prayer for Relief

           Plaintiff prays for the following relief:

                   a. For actual, compensatory, statutory and punitive damages;

                   b. For reimbursement of all costs and expenses;

                   c. For reimbursement for all attorney fees reasonably expended in
                   connection with the prosecution of this action;

                   d.  For a trial by jury; and,

                   e.  For any and all other relief this Court may deem appropriate.



                                                                  Respectfully submitted by:

                                                                  /s/Steven C. Shane
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